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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
    In re:                                                  §
                                                            §              Chapter 7
    ALEXANDER E. JONES,                                     §
                                                            §              Case No. 22-33553 (CML)
                        Debtor.                             §
                                                            §

     TENTH MONTHLY FEE STATEMENT OF PORTER HEDGES LLP, AS BANKRUPTCY
    COUNSEL FOR CHAPTER 7 TRUSTEE, CHRISTOPHER R. MURRAY, FOR ALLOWANCE
    OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                    MARCH 1, 2025 THROUGH MARCH 31, 2025

    Name of Applicant:                                                Porter Hedges LLP, as Bankruptcy Counsel
                                                                      for the Chapter 7 Trustee, Christopher R.
                                                                      Murray

    Date of Retention Order:                                          July 30, 2024 (Doc. No. 792)1

    Period for which Fees and Expenses are                            March 1, 2025 through and including
    Incurred:                                                         March 31, 2025

    Interim Fees Incurred:                                            $23,094.50

    Interim Payment of Fees Requested (80%):                          $18,475.60

    Interim Expenses Incurred:                                        $6,219.46

    Total Fees and Expenses Due:                                      $24,695.06

This is the Tenth Monthly Fee Statement.




1
    The Trustee’s application to employ Porter Hedges was filed at Docket No. 756.


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       Porter Hedges LLP (“Porter Hedges”), as Bankruptcy Counsel for the Chapter 7 Trustee,

Christopher R. Murray (the “Trustee”), submits this Tenth Monthly Fee Statement (the “Fee

Statement”) for the period from March 1, 2025 through March 31, 2025 (the “Application Period”)

in accordance with the proposed Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals and Trustee [Docket No. 793] (the “Interim

Compensation Order”).

       Porter Hedges requests compensation for professional services rendered in the amount of

$23,094.50 (the “Fees”), and for reimbursement of out-of-pocket expenses incurred in the amount

of $6,219.46 (the “Expenses”), for the period from March 1, 2025 through March 31, 2025. Eighty

percent (80%) of the fees equals $18,475.60 and one hundred percent (100%) of the Expenses

equals $6,219.46 for a total requested amount of $24,695.06.

       Summaries of the calculations for these fees by project category and expenses are attached

hereto as Exhibit 1 and Exhibit 2, respectively. A summary of the time expended by Porter

Hedges attorneys and support staff, together with their respective hourly rates, is attached hereto

as Exhibit 3. Porter Hedges’ invoice for the Application Period is attached hereto as Exhibit 4.

       WHEREFORE, Porter Hedges respectfully requests payment and reimbursement in

accordance with the procedures set forth in the proposed Interim Compensation Order (i.e.,

payment of eighty percent (80%) of the compensation sought, in the amount of $18,475.60 and

reimbursement of one hundred percent (100%) of expenses incurred in the amount of $6,219.46

in the total amount of $24,695.06.




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Dated: April 11, 2025.
Houston, Texas                                      Respectfully Submitted,

                                                    By: /s/ Joshua W. Wolfshohl
                                                    PORTER HEDGES LLP
                                                    Joshua W. Wolfshohl (TX Bar No. 24038592)
                                                    1000 Main St., 36th Floor
                                                    Houston, Texas 77002
                                                    Telephone: (713) 226-6000
                                                    Facsimile: (713) 226-6248
                                                    jwolfshohl@porterhedges.com
                                                    Counsel for the Chapter 7 Trustee,
                                                    Christopher R. Murray



                                CERTIFICATE OF SERVICE

        This will certify that a true and correct copy of the foregoing document was forwarded by
electronic transmission to all registered ECF users appearing in the case on April 11, 2025.

                                                    /s/ Joshua W. Wolfshohl
                                                     Joshua W. Wolfshohl




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                                    EXHIBIT 1

                  SUMMARY OF TIME EXPENDED BY PROJECT CATEGORY

                 Project Category               Total        Total Fees
                                                Hours        Requested
   Asset Analysis/Recovery                        13.50             11,662.50
   Case Administration                             3.90              2,078.00
   Communications                                   .70                   696.50
   Compromises                                    11.00              8,445.00
   Employment/Fee Application                       .50                   212.50


   TOTAL                                          29.60             23,094.50




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                                           EXHIBIT 2

                          SUMMARY OF OUT-OF-POCKET EXPENSES

                                Expenses                          Cost

  Computer Assisted Legal Research                                        456.12
  Computer Services                                                      1,857.57
  Litigation Support Services                                            3,762.50
  Working Meals                                                           143.27


  TOTAL                                                                  6,219.46




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                                       EXHIBIT 3

            SUMMARY OF TIME EXPENDED BY ATTORNEYS AND SUPPORT STAFF

                      Professional        Hourly Rate   Total Hours
                 Joshua W. Wolfshohl          $995.00          8.40
                 Michael B. Dearman           $745.00         16.70
                 Jordan T. Stevens            $725.00          1.00
                 Adriana T. Young             $600.00           .30
                 Mitzie L. Webb               $485.00           .50
                 Eliana Garfias               $425.00          2.70


                 TOTAL                                        29.60




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                                          PORTER HEDGES LLP
                                         A REGISTERED LIMITED LIABILITY PARTNERSHIP


                                                        DEPT. 510
                                                      P.O. BOX 4346
                                                 HOUSTON, TEXAS 77210-4346



                                                  TELEPHONE (713) 226-6000
                                                  TELECOPIER (713) 228-1331



ATTN: CHRIS MURRAY                                                                  Invoice Date:         April 08, 2025
                                                                                   Invoice Num.:                 575880
                                                                                 Matter Number:            018577-0001
                                                                                Billing Attorney:   Joshua W. Wolfshohl
                                                                                         Tax ID:           #XX-XXXXXXX
Matter:             Alex Jones

For professional services rendered and costs incurred through March 31, 2025


    Professional Services                                                                                     23,094.50

    Disbursements                                                                                              6,219.46

    Total Amount Due                                                                                         $29,313.96




                                                                                                        EXHIBIT 4
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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                 Invoice Date:           April 08, 2025
Matter: Alex Jones                                                     Invoice Num.:                   575880
                                                                      Matter Number:             018577-0001



Time Detail

Date          Initials   Description                                                    Hours        Amount
03/02/2025    JWW        Phone conference with prospective buyer.                        0.50         497.50
03/02/2025    MBD        Review pleadings in adversary proceedings (.9);                 1.10         819.50
                         correspond with E. Jones and J. Wolfshohl regarding
                         dismissals (.2).

03/03/2025    JWW        Review stipulation of dismissal regarding PQPR and              0.60         597.00
                         conference with M. Dearman regarding disposition of
                         various adversary proceedings (.3); emails with S.
                         Lemmon and S. Roberts regarding same (.1); emails
                         with counsel for WOW! regarding equity purchase (.2).

03/03/2025    MBD        Revise stipulation of dismissal (.2); conference with J.        0.90         670.50
                         Wolfshohl regarding same (.1); correspond with C.
                         Mazza regarding sale questions (.1); correspond with C.
                         Murray regarding same (.1); correspond with C. Murray
                         regarding stipulation of dismissal (.2); correspond with
                         litigation parties regarding PQPR adversary proceeding
                         (.2).
03/04/2025    JWW        Phone conference with M. Dearman regarding equity               0.70         696.50
                         sale issues (.3); conference with K. Kimpler regarding
                         CT/TX settlement (.3); emails with Trustee team
                         regarding same (.1).

03/05/2025    MBD        Conference with E. Jones regarding motion to dismiss            0.90         670.50
                         adversary (.7); correspond with J. Wolfshohl regarding
                         same (.1); review and analyze removed adversary
                         proceedings complaint (.1).

03/06/2025    JWW        Phone conference with C. Murray and E. Jones                    0.40         398.00
                         regarding TX-CT settlement (.2); follow-up emails
                         regarding dismissal of PQPR suit and related issues (.1);
                         review response to omnibus claim objection (.1).

03/06/2025    MBD        Update response to FUAC motion for leave (.1);                  1.90        1,415.50
                         correspond with C. Murray, E. Jones and J. Wolfshohl
                         regarding case updates (.1); draft motion to dismiss
                         adversary proceeding (1.5); review and analyze
                         pleadings in removed adversary proceedings (.2).

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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                   Invoice Date:           April 08, 2025
Matter: Alex Jones                                                       Invoice Num.:                   575880
                                                                        Matter Number:             018577-0001



Date         Initials   Description                                                       Hours        Amount
03/07/2025   MBD        Correspond with C. Murray (.1); continue draft motions             2.90        2,160.50
                        to dismiss adversary proceedings (1.9); conference with
                        J. Wolfshohl regarding case status and strategy (.2);
                        revise and redline proposed orders (.4); correspond with
                        J. Wolfshohl and E. Jones regarding same (.1); review
                        reservation of rights with respect to fee applications (.2).
03/07/2025   JWW        Conference with E. Jones and C. Murray regarding                   1.00         995.00
                        disposition of FSS assets and equity.

03/08/2025   MLW        Email exchange with M. Dearman regarding upcoming                  0.10           48.50
                        filing CNO - Motion to Disburse.

03/09/2025   MBD        Update revised order and certificate of no objection               0.30         223.50
                        reflecting reservation of rights (.2); analyze reservation
                        of rights (.1).

03/09/2025   MLW        Email exchange with M. Dearman regarding filing CNO                0.40         194.00
                        - Motion to Disburse (.2); file and forward copy of same
                        to Case Manager (.2).

03/10/2025   MBD        Draft motions to dismiss adversary proceedings (1.2);              2.10        1,564.50
                        correspond with C. Murray regarding case issues (.1);
                        correspond with E. Jones regarding fee applications (.1);
                        correspond with C. Murray and J. Goldstein regarding
                        disbursement order (.1); revise motion to dismiss state
                        law fraudulent transfer adversary (.2); conference with
                        C. Murray and E. Jones regarding case issues (.2);
                        correspond with C. Murray and N. Pattis regarding
                        lawsuit (.2).

03/10/2025   EG         Correspondence on filing logistics of CNO to PH's 2nd              0.70         297.50
                        fee application (.1); discuss same with M. Webb (.1);
                        receive, review, and electronically file same with court
                        (.2); download and circulate filed version (.1); email
                        case manager on same (.1); update file (.1).

03/11/2025   MBD        Review and revise February fee statement (.2); review              2.70        2,011.50
                        invoices (.4); correspond with J. Wolfshohl and E.
                        Garfias regarding same (.1); correspond with S.
                        Lemmon and S. Roberts regarding motions to dismiss
                        (.1); analyze property of the estate issues and correspond

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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                 Invoice Date:           April 08, 2025
Matter: Alex Jones                                                     Invoice Num.:                   575880
                                                                      Matter Number:             018577-0001



Date         Initials   Description                                                     Hours        Amount
                        with C. Murray regarding same (.3); conference with C.
                        Murray regarding information inquiries (.1); conference
                        with E. Jones regarding response to FUAC motion for
                        leave (.4); multiple correspondence with S. Roberts
                        regarding motions to dismiss (.2); revise response and
                        numerous correspondence with C. Murray, E. Jones, and
                        J. Wolfshohl regarding same (.9).
03/11/2025   EG         Correspondence on filing logistics of PH's 9th fee               0.50         212.50
                        statement (.1); receive, review, and electronically file
                        same with court (.2); download and circulate filed
                        version (.1); email case manager on submission of same
                        (.1).

03/12/2025   JWW        Emails regarding FSS tax issues.                                 0.20         199.00

03/13/2025   MBD        Coordinate call with WOW.AI.                                     0.10           74.50

03/13/2025   ATY        Confer with M. Dearman, K. Starling, and L. Kumar                0.30         180.00
                        regarding case status and forward progression.

03/14/2025   MBD        Conference with WOW.AI regarding membership                      0.80         596.00
                        interest diligence (.7); correspond with S. Lemmon, R.
                        Mates, and S. Roberts regarding dismissals (.1).

03/17/2025   MBD        Correspond with S. Lemmon and S. Roberts regarding               0.40         298.00
                        motions to dismiss (.1); correspond with C. Murray
                        regarding same (.1); finalize motions to dismiss and
                        proposed orders (.2).

03/18/2025   MBD        Prepare for filing (.1); correspond with E. Garfias and          0.20         149.00
                        M. Webb regarding motions to dismiss (.1).

03/18/2025   EG         Correspondence on anticipated filing of two motions to           1.50         637.50
                        dismiss in adversaries (.2); monitor emails for status of
                        same (.6); coordinate filing with M. Webb (.1); receive,
                        review, and electronically file same with court (.4);
                        download and circulate filed versions (.1); update file
                        (.1).

03/19/2025   JWW        Review motion to intervene.                                      0.30         298.50

03/19/2025   MBD        Review motion to intervene (.3); review order denying            0.40         298.00


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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                                      Invoice Date:           April 08, 2025
Matter: Alex Jones                                                          Invoice Num.:                   575880
                                                                           Matter Number:             018577-0001



Date             Initials   Description                                                      Hours        Amount
                            FUAC motion for leave (.1).

03/20/2025       JWW        Weekly call with Trustee regarding status of FSS and              1.80        1,791.00
                            next steps with open matters in case (.9); conference
                            with K. Kimpler regarding TX-CT settlement status (.5);
                            several follow-up emails with Trustee regarding same
                            (.4).
03/20/2025       JTS        Prepare for and attend strategy session with J.                   1.00         725.00
                            Wolfshohl, E. Jones, and C. Murray.

03/22/2025       JWW        Emails regarding Wow request regarding diligence of               0.20         199.00
                            FSS equity purchase.

03/24/2025       JWW        Conference with Trustee team regarding diligence on               0.60         597.00
                            equity sale and next steps with issues in chapter 7.

03/24/2025       MBD        Correspond with J. Pierce regarding demand letter (.1);           0.70         521.50
                            conference with C. Murray, E. Jones, and J. Wolfshohl
                            regarding case status and strategy (.6).

03/26/2025       MBD        Correspond with C. Mazza regarding inquiries.                     0.10           74.50

03/27/2025       MBD        Correspond with C. Murray, E. Jones, and J. Wolfshohl             0.10           74.50
                            regarding case status and updates.

03/28/2025       MBD        Conference with WOW.AI team and J. Wolfshohl                      1.10         819.50
                            regarding case status and potential equity sale (.9);
                            conference with C. Murray regarding same (.2).

03/28/2025       JWW        Diligence call with WowAi regarding equity purchase               1.10        1,094.50
                            (.9); emails with Trustee regarding same and open issues
                            (.2).

03/29/2025       JWW        Phone conference with C. Murray and E. Jones                      1.00         995.00
                            regarding potential equity sale and status of state court
                            turnover proceeding.
Total                                                                                        29.60     $23,094.50

Total Services                                                                                          $23,094.50

Timekeeper Summary

Initials   Name                   Timekeeper Title                              Hours         Rate        Amount


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PORTER HEDGES LLP
Client: CHRIS MURRAY, CHAPTER 7 TRUSTEE                         Invoice Date:            April 08, 2025
Matter: Alex Jones                                             Invoice Num.:                    575880
                                                              Matter Number:              018577-0001



Initials   Name               Timekeeper Title                    Hours           Rate        Amount
JWW        Joshua W.          Partner                              8.40         995.00        8,358.00
           Wolfshohl
MBD        Michael B. Dearman Associate                            16.70        745.00       12,441.50
JTS        Jordan T. Stevens  Associate                             1.00        725.00          725.00
ATY        Adriana T. Young   Associate                             0.30        600.00          180.00
MLW        Mitzie L. Webb     Paralegal                             0.50        485.00          242.50
EG         Eliana Garfias     Paralegal                             2.70        425.00        1,147.50
Total                                                              29.60                    $23,094.50

Cost Summary
Description                                                                                   Amount
Computer Assisted Legal Research                                                                456.12
Computer Services                                                                             1,857.57
Litigation Support Services                                                                   3,762.50
Working Meals                                                                                   143.27
Total Disbursements                                                                          $6,219.46


Total This Invoice                                                                          $29,313.96




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